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     EXHIBIT 12
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                     JAMES D. NEALON - 08/14/2018                          ·

 ·1· · · · · · · · ·UNITED STATES DISTRICT COURT
 ·2· · · · · · · · NORTHERN DISTRICT OF CALIFORNIA
 ·3· · · · · · · · · · · · ·SAN FRANCISCO
 ·4
 ·5· ·- - - - - - - - - - - - - - x
 ·6· ·CRISTA RAMOS, et al.,· · · ·:
 ·7· · · · · · · ·Plaintiffs,· · ·:· Case No.
 ·8· ·v.· · · · · · · · · · · · · :· 3:18-cv-1554-EMC
 ·9· ·KIRSTJEN NIELSEN, et al.,· ·:
 10· · · · · · · ·Defendants.· · ·:
 11· ·- - - - - - - - - - - - - - x
 12
 13· · · · · ·VIDEOTAPED DEPOSITION OF JAMES D. NEALON
 14· · · · · · · · · ·Tuesday, August 14, 2018
 15· · · · · · · · · · Boston, Massachusetts
 16
 17
 18
 19
 20
 21
 22
 23· · Job No.:· LA-187775
 24· · Pages 1 - 276
 25· · Reported By:· Dana Welch, CSR, RPR, CRR


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 ·1· ·include the talking points for public consumption                            11:19:03
 ·2· ·related to a specific issue.                                                 11:19:07
 ·3· · · ·Q.· Who produces the public affairs guidance                             11:19:09
 ·4· ·for the Department?                                                          11:19:15
 ·5· · · ·A.· The Assistant Secretary of public affairs                            11:19:15
 ·6· ·would be ultimately responsible for those talking                            11:19:21
 ·7· ·points.                                                                      11:19:23
 ·8· · · ·Q.· Okay.· And the next line, number 2, says,                            11:19:23
 ·9· ·"State is notifying our embassy in Haiti."· I think                          11:19:31
 10· ·that's fairly self-explanatory.                                              11:19:35
 11· · · · · ·Number 3 says, "I notified NSC at their                              11:19:37
 12· ·request."· What does NSC refer to?                                           11:19:41
 13· · · ·A.· That refers to the National Security                                 11:19:44
 14· ·Council.                                                                     11:19:48
 15· · · ·Q.· Is that the National Security Council at                             11:19:48
 16· ·the White House --                                                           11:19:50
 17· · · ·A.· Yes.                                                                 11:19:50
 18· · · ·Q.· -- or is there a different National                                  11:19:51
 19· ·Security Council?· Yes.                                                      11:19:54
 20· · · · · ·Do you recall the National Security                                  11:19:55
 21· ·Council requesting notification about the TPS                                11:19:58
 22· ·termination for Haiti?                                                       11:20:00
 23· · · ·A.· You know, I don't specifically remember,                             11:20:01
 24· ·but, in general, the White House was keenly                                  11:20:05
 25· ·interested in the Secretary's decisions related to                           11:20:08


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 ·1· ·TPS.· So it was a standard practice that we would                            11:20:11
 ·2· ·notify them as soon as she had made a decision.                              11:20:16
 ·3· · · ·Q.· How did you know that the White House was                            11:20:18
 ·4· ·keenly interested in TPS decisions?                                          11:20:21
 ·5· · · · · ·MR. KIRSCHNER:· Objection.· To the extent                            11:20:23
 ·6· ·that this is calling for internal government                                 11:20:26
 ·7· ·deliberations, I would request that you not answer.                          11:20:29
 ·8· ·To the extent that you can give a general answer,                            11:20:32
 ·9· ·then feel free to go ahead.                                                  11:20:34
 10· · · ·A.· They would tell us directly that they                                11:20:40
 11· ·would like to know as soon as the Secretary made a                           11:20:42
 12· ·decision.                                                                    11:20:46
 13· · · ·Q.· When you say "they," who would let you                               11:20:49
 14· ·know that they were interested in knowing what the                           11:20:51
 15· ·TPS decision was likely to be?                                               11:20:54
 16· · · ·A.· It would be at the staff level of the                                11:20:56
 17· ·National Security Council.· I see the name has been                          11:20:59
 18· ·redacted here.· It looks like I listed the name in                           11:21:05
 19· ·the e-mail and it's been redacted.                                           11:21:07
 20· · · ·Q.· Do you recall the name but are withholding                           11:21:09
 21· ·it because of the deliberative process privilege?                            11:21:14
 22· · · · · ·MR. KIRSCHNER:· Objection, that is a                                 11:21:16
 23· ·misrepresentation of the withholding listed in this                          11:21:18
 24· ·document.                                                                    11:21:20
 25· · · · · ·MS. MacLEAN:· Sorry.· B6.                                            11:21:22


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 ·1· · · ·Q.· Do you recall the name of who the person                             11:21:24
 ·2· ·is that you would have been in communication with?                           11:21:25
 ·3· · · ·A.· I don't specifically recall, but I -- I                              11:21:27
 ·4· ·can imagine who that person was, yes.                                        11:21:30
 ·5· · · ·Q.· Were there others besides the staff person                           11:21:32
 ·6· ·that you're describing at the National Security                              11:21:42
 ·7· ·Council who are at the White House who expressed                             11:21:45
 ·8· ·interest in the TPS decisions?                                               11:21:48
 ·9· · · ·A.· Not to me.                                                           11:21:50
 10· · · ·Q.· So when you were engaged with the White                              11:21:52
 11· ·House in communications around TPS, is it fair to                            11:21:55
 12· ·say that was with the National Security Council in                           11:21:57
 13· ·particular?                                                                  11:22:00
 14· · · ·A.· Yes.                                                                 11:22:01
 15· · · ·Q.· And exclusively with the National Security                           11:22:02
 16· ·Council in particular?                                                       11:22:16
 17· · · ·A.· So my recollection is that when I                                    11:22:13
 18· ·communicated TPS decisions to the White House, I                             11:22:15
 19· ·communicated them to the National Security Council,                          11:22:19
 20· ·yes.                                                                         11:22:23
 21· · · ·Q.· Did anyone from the White House                                      11:22:24
 22· ·communicate with you or your team regarding TPS                              11:22:26
 23· ·outside of the person that you're thinking of at                             11:22:31
 24· ·the National Security Council?                                               11:22:34
 25· · · ·A.· Not with me directly.· Whether they                                  11:22:36


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 ·1· ·communicated with my team, I wasn't aware of.                                11:22:43
 ·2· · · ·Q.· So number 3 says, "I notified NSC" -- the                            11:22:49
 ·3· ·name is redacted -- "at their request."                                      11:22:56
 ·4· · · · · ·Is it fair to say that you're representing                           11:23:00
 ·5· ·that NSC had a general request for information                               11:23:03
 ·6· ·about TPS decisions, not a specific request here                             11:23:06
 ·7· ·about the TPS decision with regard to Haiti?                                 11:23:10
 ·8· · · · · ·MR. KIRSCHNER:· Objection, confusing, no                             11:23:14
 ·9· ·foundation.                                                                  11:23:18
 10· · · ·A.· I think I can answer.· I recall on a                                 11:23:18
 11· ·number of TPS decisions, there was an individual at                          11:23:24
 12· ·the National Security Council, who was sort of my                            11:23:27
 13· ·natural counterpart, with whom I would communicate                           11:23:30
 14· ·and who was keenly interested in knowing when a                              11:23:34
 15· ·decision had been made and what that decision was                            11:23:39
 16· ·so that he could then communicate that decision up                           11:23:42
 17· ·his chain of command.                                                        11:23:45
 18· · · ·Q.· And who was that person?                                             11:23:46
 19· · · ·A.· Gary Tomasulo.                                                       11:23:49
 20· · · ·Q.· Gary -- what's his last name?                                        11:23:53
 21· · · ·A.· Tomasulo.· T-o-m-a-s-u-l-o.                                          11:23:54
 22· · · ·Q.· Do you know his title?                                               11:24:00
 23· · · ·A.· I believe he was the director of                                     11:24:02
 24· ·trans-border affairs at the NSC.                                             11:24:05
 25· · · ·Q.· Do you know what his responsibilities                                11:24:13


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 ·1· ·Security, but obviously, it has to be in a timely                            11:27:20
 ·2· ·way so that the Secretary of Homeland Security has                           11:27:23
 ·3· ·time to consider that input before rendering her                             11:27:26
 ·4· ·decision.                                                                    11:27:28
 ·5· · · ·Q.· So you started off by saying the way that                            11:27:30
 ·6· ·it's supposed to work and then outlined the                                  11:27:33
 ·7· ·process.                                                                     11:27:36
 ·8· · · ·A.· (Nodding head up and down.)                                          11:27:37
 ·9· · · ·Q.· Is it your recollection that it generally                            11:27:38
 10· ·worked in the way that you described?                                        11:27:40
 11· · · ·A.· It's my recollection that the State                                  11:27:41
 12· ·Department was often very slow and late in getting                           11:27:44
 13· ·their materials to the Secretary so that she had                             11:27:49
 14· ·sufficient time to consider those materials before                           11:27:53
 15· ·making her decision.                                                         11:27:55
 16· · · ·Q.· Do you recall sort of approximately at                               11:27:57
 17· ·what stage of the process the Secretary of State or                          11:28:02
 18· ·the Deputy Secretary of State engaged with the DHS                           11:28:06
 19· ·Secretary or DHS with the recommendations?                                   11:28:09
 20· · · · · ·MR. KIRSCHNER:· Objection, vague.· It's                              11:28:11
 21· ·general in the context of the questions at issue in                          11:28:16
 22· ·this case.                                                                   11:28:21
 23· · · ·A.· So for example, in the case of Sudan, I                              11:28:22
 24· ·believe the Department of State's paperwork was                              11:28:31
 25· ·very late in arriving at Homeland Security and I                             11:28:35


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 ·1· ·recall that being an issue.                                                  11:28:43
 ·2· · · ·Q.· In what way was it an issue?                                         11:28:44
 ·3· · · ·A.· It was an issue in that the Secretary's                              11:28:46
 ·4· ·office -- Secretary of homeland security's office                            11:28:50
 ·5· ·was clamoring for that input so that she would have                          11:28:54
 ·6· ·sufficient time to read it, process it, before                               11:28:58
 ·7· ·having to make her decision.                                                 11:29:00
 ·8· · · ·Q.· You had described at the outset your role                            11:29:01
 ·9· ·as engaging with the State Department and as one of                          11:29:04
 10· ·the key entities within the Department of Homeland                           11:29:07
 11· ·Security that was engaged with the State                                     11:29:10
 12· ·Department.· Had you engaged with the State                                  11:29:12
 13· ·Department in your recollection in the -- in                                 11:29:14
 14· ·connection with the particular case of the TPS                               11:29:18
 15· ·determination of Sudan?                                                      11:29:22
 16· · · ·A.· Yes, I believe so.· And the reason I say I                           11:29:23
 17· ·believe so is because it's sometimes difficult for                           11:29:26
 18· ·me to separate in my mind which TPS decision, a                              11:29:29
 19· ·particular phone call, or conversation took place                            11:29:33
 20· ·regarding.· But I do recall talking to the State                             11:29:36
 21· ·Department about the Sudan paperwork and expressing                          11:29:44
 22· ·the Secretary of Homeland Security's displeasure                             11:29:49
 23· ·with the lateness of that paperwork.                                         11:29:53
 24· · · ·Q.· Do you recall what the response was from                             11:30:04
 25· ·the --                                                                       11:30:04


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 ·1· · · ·Q.· So you then described your communications                            12:14:17
 ·2· ·with Mr. Merten as essentially having the backdrop                           12:14:29
 ·3· ·of an expected termination of TPS for Haiti?                                 12:14:33
 ·4· · · ·A.· That's my recollection.                                              12:14:36
 ·5· · · ·Q.· Is it your recollection that that general                            12:14:37
 ·6· ·feeling around the likely imminent end of TPS for                            12:14:38
 ·7· ·Haiti was from the very beginning of your tenure at                          12:14:45
 ·8· ·DHS?                                                                         12:14:48
 ·9· · · ·A.· I do recall that, because I recall that --                           12:14:48
 10· ·that I got that sense from General Kelly.                                    12:14:54
 11· · · ·Q.· Did you have specific communications with                            12:14:56
 12· ·General Kelly about that?                                                    12:14:59
 13· · · · · ·MR. KIRSCHNER:· Object.· I mean, to the                              12:15:00
 14· ·extent this is getting into internal government                              12:15:02
 15· ·deliberations of your communications, I would                                12:15:06
 16· ·instruct you not to answer.                                                  12:15:15
 17· · · · · ·MS. MacLEAN:· You can identify whether                               12:15:15
 18· ·this is a question that you would instruct him not                           12:15:15
 19· ·to answer or not.                                                            12:15:15
 20· · · ·Q.· But did you have specific communications                             12:15:19
 21· ·that you recall with General Kelly concerning the                            12:15:21
 22· ·expected termination of TPS for Haiti?                                       12:15:26
 23· · · ·A.· I believe I had one conversation with him                            12:15:29
 24· ·about Haiti and TPS.                                                         12:15:32
 25· · · ·Q.· And was that communication before he left                            12:15:34


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 ·1· ·answer to this question.                                                     13:34:31
 ·2· · · ·Q.· So to the extent that you can answer based                           13:34:32
 ·3· ·on what your attorney has advised, are you aware of                          13:34:34
 ·4· ·whether there was any reply from the Secretary of                            13:34:38
 ·5· ·State or his staff to the embassy cables that were                           13:34:41
 ·6· ·received regarding TPS?                                                      13:34:44
 ·7· · · · · ·MR. KIRSCHNER:· Again, objection, this is                            13:34:45
 ·8· ·like foundational.· Like, this is characterizing                             13:34:47
 ·9· ·kind of a sentence in an article that without                                13:34:51
 10· ·context I think provides a difficulty in                                     13:34:55
 11· ·responding, and it's a characterization of how the                           13:35:01
 12· ·sentence is stated within the article.                                       13:35:04
 13· · · ·Q.· If you understand the question, you can                              13:35:07
 14· ·answer the question.                                                         13:35:11
 15· · · ·A.· So I'm not aware one way or the other that                           13:35:11
 16· ·the -- that the cables were answered or that they                            13:35:13
 17· ·were not answered.                                                           13:35:15
 18· · · ·Q.· So the following sentence reads, "In the                             13:35:17
 19· ·ensuing weeks, Trump Senior Advisor and Immigration                          13:35:29
 20· ·Hardliner Stephen Miller placed phone calls to DHS                           13:35:33
 21· ·Chief of Staff Chad Wolf and top Tillerson                                   13:35:36
 22· ·advisors, telling them to end TPS anyway, according                          13:35:39
 23· ·to current and former administration officials who                           13:35:41
 24· ·like others spoke on the condition of anonymity."                            13:35:44
 25· · · · · ·Are you aware of whether Trump Senior                                13:35:47


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 ·1· ·Advisor and Immigration -- well, we won't -- we                              13:35:50
 ·2· ·won't characterize his position, but that Trump                              13:35:53
 ·3· ·Senior Advisor Stephen Miller placed phone calls to                          13:35:56
 ·4· ·DHS Chief of Staff Chad Wolf concerning TPS?                                 13:36:00
 ·5· · · · · ·MR. KIRSCHNER:· And on this question,                                13:36:05
 ·6· ·Ambassador Nealon, you can answer the question as                            13:36:07
 ·7· ·asked about whether you're aware of any phone calls                          13:36:09
 ·8· ·between Stephen Miller and Chad Wolf.· To the                                13:36:11
 ·9· ·extent the question calls for the nature of those                            13:36:15
 10· ·communications, I would instruct you not to answer.                          13:36:17
 11· · · ·A.· So I was told that such phone calls took                             13:36:21
 12· ·place, but I didn't and don't have any firsthand                             13:36:25
 13· ·knowledge of those phone calls.                                              13:36:28
 14· · · ·Q.· Who told you that the phone calls took                               13:36:35
 15· ·place?                                                                       13:36:37
 16· · · · · ·MR. KIRSCHNER:· You can answer.                                      13:36:37
 17· · · ·A.· Chad Wolf and others.                                                13:36:38
 18· · · ·Q.· Did Mr. Wolf describe to you without --                              13:36:42
 19· ·it's a yes-or-no question -- the content of those                            13:36:47
 20· ·phone calls?                                                                 13:36:50
 21· · · ·A.· No, only in the broadest terms, only that                            13:36:51
 22· ·the phone calls had taken place.                                             13:36:56
 23· · · ·Q.· The second portion of that sentence reads                            13:36:58
 24· ·that Mr. Miller also communicated with top                                   13:37:07
 25· ·Tillerson advisors concerning TPS.                                           13:37:11


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 ·1· ·"Tillerson told Homeland Security Acting Secretary                           13:38:55
 ·2· ·Elaine Duke that conditions in Central America and                           13:38:58
 ·3· ·Haiti had improved" --                                                       13:39:05
 ·4· · · · · ·(Interruption by the reporter.)                                      13:39:05
 ·5· · · ·Q.· "Tillerson told Homeland Security's Acting                           13:39:08
 ·6· ·Secretary Elaine Duke that conditions in Central                             13:39:08
 ·7· ·America and Haiti had improved and that TPS                                  13:39:15
 ·8· ·protections were no longer warranted.· When the two                          13:39:17
 ·9· ·spoke by phone, Tillerson told Duke ending TPS 'was                          13:39:20
 10· ·just something she had to do?'"                                              13:39:25
 11· · · · · ·Are you aware of any conversation like the                           13:39:28
 12· ·conversation that is described in this paragraph?                            13:39:34
 13· · · · · ·MR. KIRSCHNER:· Objection.· Ambassador                               13:39:36
 14· ·Nealon can answer the question if he's aware of any                          13:39:40
 15· ·conversations between Elaine Duke and Secretary                              13:39:43
 16· ·Tillerson about TPS.· I instruct Ambassador Nealon                           13:39:47
 17· ·not to answer about the nature of the deliberations                          13:39:51
 18· ·between Secretary of State Tillerson and Acting                              13:39:54
 19· ·Secretary Duke.                                                              13:39:58
 20· · · ·A.· Yes.                                                                 13:39:59
 21· · · · · ·MR. KIRSCHNER:· Sorry.· I -- like the                                13:40:00
 22· ·record is not clear, the question of yes, I just                             13:40:02
 23· ·want to make it clear in your words what you're                              13:40:06
 24· ·referring to as yes so that we're not -- have a                              13:40:09
 25· ·lack of clarity on the record.                                               13:40:14


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 ·1· · · · · ·THE WITNESS:· Thank you.                                             13:40:16
 ·2· · · ·A.· Yes, I'm aware that such a conversation                              13:40:17
 ·3· ·took place in that I was told that such a                                    13:40:21
 ·4· ·conversation took place.· I wasn't present for it                            13:40:25
 ·5· ·and had no direct knowledge of it.                                           13:40:28
 ·6· · · ·Q.· And who communicated to you that such a                              13:40:30
 ·7· ·conversation took place?                                                     13:40:32
 ·8· · · ·A.· I don't recall.                                                      13:40:33
 ·9· · · · · ·MR. KIRSCHNER:· Again, I think the record                            13:40:38
 10· ·is not clear when you say "such a conversation took                          13:40:39
 11· ·place."· Again, you're -- it's okay for you to                               13:40:43
 12· ·answer questions about whether Secretary of State                            13:40:49
 13· ·Tillerson and Acting Secretary Duke had                                      13:40:51
 14· ·conversations about TPS.                                                     13:40:54
 15· · · · · ·The nature of those conversations, I                                 13:40:56
 16· ·instruct you not to answer.· So when you say "such                           13:40:57
 17· ·a conversation took place," I want to make sure the                          13:41:00
 18· ·record is clear what you're referring to.                                    13:41:02
 19· · · ·A.· So I was told that there was a                                       13:41:05
 20· ·conversation between Secretary Tillerson and Acting                          13:41:12
 21· ·Secretary Duke regarding the TPS decision.                                   13:41:18
 22· · · ·Q.· And that conversation happened around                                13:41:25
 23· ·October 31st, 2017, in your recollection?                                    13:41:29
 24· · · ·A.· So I don't recall the date.· My                                      13:41:39
 25· ·recollection is that it happened at the time of the                          13:41:40


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 ·1· ·TPS decision.                                                                13:41:43
 ·2· · · ·Q.· Okay.· So the last full paragraph of that                            13:41:48
 ·3· ·page reads, "White House Chief of Staff John                                 13:41:55
 ·4· ·F. Kelly, who had run DHS from January until July,                           13:42:00
 ·5· ·called Duke from Asia where he was traveling with                            13:42:04
 ·6· ·the President to convey his frustration."                                    13:42:07
 ·7· · · · · ·Were you aware of whether White House                                13:42:10
 ·8· ·Chief of Staff John Kelly called Acting Secretary                            13:42:13
 ·9· ·Duke concerning TPS?                                                         13:42:17
 10· · · · · ·MR. KIRSCHNER:· Again, I will instruct                               13:42:18
 11· ·Ambassador Nealon that he can answer the question                            13:42:21
 12· ·of whether he's aware of a phone call between                                13:42:23
 13· ·General Kelly and Acting Secretary Duke.                                     13:42:26
 14· · · · · ·To the extent the question calls for                                 13:42:30
 15· ·deliberations during that phone call, I would                                13:42:33
 16· ·instruct Ambassador Nealon not to answer.                                    13:42:35
 17· · · ·A.· Similarly, I was told that a phone                                   13:42:38
 18· ·conversation took place between Chief of Staff                               13:42:42
 19· ·Kelly and Acting Secretary Duke at the time of                               13:42:46
 20· ·the -- of that particular TPS decision.                                      13:42:51
 21· · · ·Q.· And who communicated to you that there was                           13:42:54
 22· ·such a phone call?                                                           13:43:01
 23· · · ·A.· I don't recall.                                                      13:43:02
 24· · · ·Q.· Do you recall whether it was one of the                              13:43:03
 25· ·participants of the phone call?                                              13:43:09


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 ·1· ·I said was that I felt obligated to leave as a                               15:25:54
 ·2· ·political appointee who felt he couldn't fully                               15:25:58
 ·3· ·represent all of the administration's policies.                              15:26:04
 ·4· · · ·Q.· Are there certain policies that led you to                           15:26:07
 ·5· ·feel obligated to leave?                                                     15:26:12
 ·6· · · · · ·THE WITNESS:· Do I have to go into this?                             15:26:30
 ·7· ·I mean --                                                                    15:26:32
 ·8· · · ·A.· I'll ask you.· So I feel like I gave you                             15:26:34
 ·9· ·an honest and heartfelt answer --                                            15:26:38
 10· · · ·Q.· I appreciate it.                                                     15:26:41
 11· · · ·A.· -- to the question.· And I don't really                              15:26:42
 12· ·have more to say than that.· I think if we go back                           15:26:45
 13· ·and look at what I said, it stands on its own and                            15:26:51
 14· ·that's why I left.                                                           15:26:54
 15· · · ·Q.· Let me ask just maybe one other question                             15:26:55
 16· ·more specifically related to this.· And I                                    15:26:58
 17· ·apologize, I understand that this is after a career                          15:27:00
 18· ·of service to the country, I imagine it was an                               15:27:03
 19· ·intense decision without putting words in your                               15:27:06
 20· ·mouth and a difficult one, and I appreciate that                             15:27:10
 21· ·it's a heartfelt answer, and it's on the record,                             15:27:12
 22· ·and I understand that there are complications with                           15:27:14
 23· ·that.                                                                        15:27:16
 24· · · · · ·Were the discussions around TPS -- did the                           15:27:17
 25· ·discussions around TPS and the administration's                              15:27:21


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 ·1· ·decisions with regard to TPS inform your decision                            15:27:24
 ·2· ·to leave?                                                                    15:27:26
 ·3· · · ·A.· You know, I think I said in my original                              15:27:27
 ·4· ·answer that in 34 years in government, I won and                             15:27:30
 ·5· ·lost hundreds of policy battles, and so I'm not a                            15:27:33
 ·6· ·guy who would, you know, get up and take his                                 15:27:37
 ·7· ·checkerboard with him because he lost a policy                               15:27:40
 ·8· ·fight, right?· So that's really not why I left.                              15:27:43
 ·9· · · · · ·I left really because I didn't feel like I                           15:27:49
 10· ·could represent the administration, and so I felt                            15:27:53
 11· ·obligated to leave.· I didn't leave in anger, I                              15:27:56
 12· ·left in sorrow.                                                              15:27:59
 13· · · ·Q.· I really appreciate that, and I apologize                            15:28:02
 14· ·for the probing questions on I'm sure a difficult                            15:28:05
 15· ·topic.                                                                       15:28:10
 16· · · · · ·If I could turn to the op-ed that you                                15:28:12
 17· ·wrote.· What led you to write the op-ed that you                             15:28:14
 18· ·wrote here?                                                                  15:28:18
 19· · · ·A.· So after 34 years in government, I was                               15:28:19
 20· ·suddenly unleashed and able to express my opinion                            15:28:30
 21· ·openly and publicly.· And so I've been doing that                            15:28:36
 22· ·since I left government, and this is an example of                           15:28:42
 23· ·that.                                                                        15:28:44
 24· · · ·Q.· Were you particularly concerned around the                           15:28:44
 25· ·decision to terminate TPS for Honduras, has that                             15:28:54


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 ·1· ·paragraphs.                                                                  15:35:42
 ·2· · · ·A.· Okay.                                                                15:35:56
 ·3· · · ·Q.· You say here, "The justifications for                                15:35:56
 ·4· ·termination are two-fold.· The administration                                15:36:06
 ·5· ·reminds us that temporary protected status was                               15:36:08
 ·6· ·always meant to be temporary.· It also argues that                           15:36:12
 ·7· ·the original conditions for which TPS was granted:                           15:36:12
 ·8· ·The devastating Hurricane Mitch in 1998 that killed                          15:36:16
 ·9· ·more than 7,000 people in Honduras alone no longer                           15:36:20
 10· ·exists."· Beginning of the next paragraph, "We                               15:36:23
 11· ·understand how such arguments would make sense                               15:36:25
 12· ·under a strict constructionist view."                                        15:36:28
 13· · · · · ·We spoke about this a bit earlier today.                             15:36:31
 14· ·But was it your understanding at the time that you                           15:36:34
 15· ·wrote this op-ed that the strict constructionist                             15:36:37
 16· ·view of the TPS statute essentially won out in DHS?                          15:36:43
 17· · · · · ·MR. KIRSCHNER:· Objection, calls for                                 15:36:49
 18· ·speculation.                                                                 15:37:00
 19· · · ·A.· So whether the strict constructionist view                           15:37:00
 20· ·is the ultimate reason why the secretaries made                              15:37:03
 21· ·their decisions about TPS, I don't know.· But to                             15:37:07
 22· ·answer your question, I believe that a strict                                15:37:10
 23· ·interpretation of the statute was an important                               15:37:17
 24· ·element in those decisions.                                                  15:37:20
 25· · · ·Q.· Do you believe that that was the only way                            15:37:22


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 ·1· ·that TPS -- the TPS statute could have been                                  15:37:26
 ·2· ·interpreted?                                                                 15:37:31
 ·3· · · · · ·MR. KIRSCHNER:· Objection, calls for a                               15:37:31
 ·4· ·legal conclusion and calls for speculation, and                              15:37:34
 ·5· ·also it's vague and confusing what you mean by that                          15:37:40
 ·6· ·question.                                                                    15:37:44
 ·7· · · ·Q.· If you understand the question, you can                              15:37:44
 ·8· ·answer it.                                                                   15:37:45
 ·9· · · ·A.· So my understanding was that successive                              15:37:49
 10· ·administrations had renewed TPS for Honduras long                            15:37:54
 11· ·after the conditions that resulted from Hurricane                            15:38:04
 12· ·Mitch had begun to dissipate or had dissipated.                              15:38:08
 13· · · ·Q.· So is it your understanding that there was                           15:38:15
 14· ·a new interpretation of the TPS statute that didn't                          15:38:17
 15· ·allow that under this administration?                                        15:38:20
 16· · · · · ·MR. KIRSCHNER:· Objection, calls for                                 15:38:22
 17· ·speculation.                                                                 15:38:26
 18· · · ·A.· So my understanding, and this is a                                   15:38:26
 19· ·personal opinion, is that, again, I believe this                             15:38:32
 20· ·viewpoint was one of the elements that went into                             15:38:37
 21· ·those decisions.· But, yes, I believe that -- that                           15:38:39
 22· ·there was a belief among many people in the                                  15:38:46
 23· ·administration that their hands were tied and that                           15:38:49
 24· ·because the statute says that -- that TPS should be                          15:38:53
 25· ·based on the existing conditions, that there was no                          15:39:00


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 ·1· ·DHS about TPS and about the termination of TPS.                I             15:45:52
 ·2· ·want to be very careful about -- about stating                               15:45:57
 ·3· ·unequivocally that those conversations spoke                                 15:46:03
 ·4· ·directly about the -- a new interpretation of the                            15:46:07
 ·5· ·statute, because I'm trying to think if I -- if I                            15:46:12
 ·6· ·heard that specifically or not.                                              15:46:16
 ·7· · · · · ·So I'm just going to be very careful here.                           15:46:20
 ·8· ·And I don't remember specifically being told that.                           15:46:25
 ·9· · · ·Q.· Okay.· And you've mentioned in the course                            15:46:27
 10· ·of the deposition a few different ways in which the                          15:46:34
 11· ·White House had been involved in communications                              15:46:39
 12· ·around TPS.· I just want to be very clear, you said                          15:46:41
 13· ·that there are people in the White House who were                            15:46:47
 14· ·involved in conversations around the termination of                          15:46:51
 15· ·TPS.· Who are the people that you know of directly                           15:46:53
 16· ·or indirectly from the White House who were                                  15:46:57
 17· ·involved in those conversations?                                             15:46:59
 18· · · ·A.· So the name that always came up is Stephen                           15:47:03
 19· ·Miller.                                                                      15:47:08
 20· · · ·Q.· And who was Stephen Miller communicating                             15:47:08
 21· ·with?                                                                        15:47:13
 22· · · ·A.· So, again, this is -- these are things                               15:47:13
 23· ·that were told to me.· I don't have any direct                               15:47:17
 24· ·knowledge of these conversations.· But he was                                15:47:21
 25· ·certainly speaking to the DHS Chief of Staff and he                          15:47:25


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 ·1· ·was certainly speaking to Mr. Hamilton, and he may                           15:47:32
 ·2· ·have been speaking to others.                                                15:47:37
 ·3· · · ·Q.· How do you know that he was speaking to                              15:47:39
 ·4· ·the DHS Chief of Staff?· First of all, which DHS                             15:47:41
 ·5· ·Chief of Staff are you referencing here?                                     15:47:46
 ·6· · · ·A.· Chad Wolf.                                                           15:47:48
 ·7· · · ·Q.· And how do you know that he was speaking                             15:47:49
 ·8· ·to Chad Wolf?                                                                15:47:52
 ·9· · · ·A.· Chad Wolf told me.                                                   15:47:53
 10· · · ·Q.· Did he speak to Mr. Wolf more than once                              15:47:55
 11· ·about TPS?                                                                   15:47:58
 12· · · · · ·MR. KIRSCHNER:· Objection, foundation.                               15:47:59
 13· · · ·A.· So I believe Mr. Wolf told me that he had                            15:48:08
 14· ·had numerous conversations with Stephen Miller                               15:48:10
 15· ·about TPS.                                                                   15:48:13
 16· · · ·Q.· Do you recall when those conversations                               15:48:14
 17· ·took place?                                                                  15:48:17
 18· · · ·A.· I don't.                                                             15:48:18
 19· · · ·Q.· And how do you know that Mr. Miller was                              15:48:20
 20· ·having communications with Mr. Hamilton about TPS?                           15:48:24
 21· · · ·A.· Again, I don't have direct knowledge of                              15:48:28
 22· ·these conversations, but reference would                                     15:48:30
 23· ·occasionally be made to them in meetings.                                    15:48:34
 24· · · ·Q.· Did Mr. Wolfe elaborate to you the content                           15:48:38
 25· ·of the conversations he had with Mr. Miller                                  15:48:54


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 ·1· · · ·Q.· I'll skip that.                                                      16:52:49
 ·2· · · · · ·Do you recall any concerns about whether                             16:52:55
 ·3· ·the Secretary would make a timely decision with                              16:52:59
 ·4· ·regard to the TPS determination of Sudan?                                    16:53:04
 ·5· · · ·A.· Yes, because as we've discussed                                      16:53:08
 ·6· ·previously, there was this -- there was this delay                           16:53:17
 ·7· ·in getting the paperwork from the Department of                              16:53:25
 ·8· ·State, which she really wanted to see before she                             16:53:28
 ·9· ·made her decision.                                                           16:53:31
 10· · · ·Q.· I'm going to give you what has previously                            16:54:13
 11· ·been marked as Exhibit 7.· This does seem to start                           16:54:15
 12· ·at the end and go to the beginning.                                          16:54:25
 13· · · ·A.· Okay.                                                                16:54:27
 14· · · · · ·Okay.                                                                16:55:31
 15· · · ·Q.· What do you understand this e-mail chain                             16:55:31
 16· ·to be referring to?                                                          16:55:33
 17· · · · · ·MR. KIRSCHNER:· Objection, calls for                                 16:55:34
 18· ·speculation.                                                                 16:55:39
 19· · · ·A.· This seems to be a back and forth about                              16:55:39
 20· ·USCIS's input into the Sudan TPS decision.                                   16:55:47
 21· · · ·Q.· So if I -- the first e-mail in the chain                             16:55:53
 22· ·from August 29th, 2017 at 9:52 p.m., the subject is                          16:56:01
 23· ·"Sudan TPS" and the author is Gene Hamilton.· It's                           16:56:08
 24· ·obviously redacted in full.                                                  16:56:16
 25· · · · · ·The next e-mail is from Kathy Neubel                                 16:56:20


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 ·1· · · · · · · · · · CERTIFICATE OF REPORTER
 ·2· · · · · · I, Dana Welch, a Certified Shorthand
 ·3· ·Reporter, hereby certify that the witness in the
 ·4· ·foregoing deposition was by me duly sworn to tell
 ·5· ·the truth, the whole truth, and nothing but the
 ·6· ·truth in the within-entitled cause;
 ·7· · · · · · That said deposition was taken in
 ·8· ·shorthand by me, a disinterested person, at the time
 ·9· ·and place therein stated, and that the testimony of
 10· ·the said witness was thereafter reduced to
 11· ·typewriting, by computer, under my direction and
 12· ·supervision;
 13· · · · · · That before completion of the deposition,
 14· ·review of the transcript [X] was [ ] was not
 15· ·requested.· If requested, any changes made by the
 16· ·deponent (and provided to the reporter) during the
 17· ·period allowed are appended hereto.
 18· · · · · · I further certify that I am not of counsel
 19· ·or attorney for either or any of the parties to the
 20· ·said deposition, nor in any way interested in the
 21· ·event of this cause, and that I am not related to
 22· ·any of the parties thereto.
 23· · · · · · · · · · Dated:· August 15, 2018.
 24· · · · · _______________________________________
 25· · · · · ·Dana Welch, CSR, RPR, CRR, CRC


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